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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                        Crim. Action No.: 21-CR-294

JEREMY J. VOROUS,

                    Defendant.



                           MOTION TO WITHDRAW

      Undersigned counsel from the Office of the Federal Public Defender moves to

withdraw from the above-captioned case. Mr. Vorous and counsel have had a

communication breakdown rendering it impossible for counsel to effectively represent

Mr. Vorous. Mr. Vorous has requested that that counsel withdraw and that

substitution counsel be appointed. Accordingly, counsel moves the Court to grant her

motion to withdraw and to appoint Criminal Justice Act counsel to represent Mr.

Vorous.

                                             Respectfully Submitted,

                                             A.J. KRAMER
                                             FEDERAL PUBLIC DEFENDER


                                             ______/s/____________________
                                             ELIZABETH MULLIN
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